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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


 In re:                                           §
                                                  §       Case No. 21-30710
 CASTEX ENERGY 2005 HOLDCO,                       §
 LLC, et al.,                                     §       Chapter 11
                                                  §
                  Debtors.                        §       (Jointly Administered)




            CERTIFICATE OF NO OBJECTION TO DEBTORS’ MOTION
                IN AID OF CONFIRMATION FOR ENTRY OF AN
             ORDER (I) AUTHORIZING THE DEBTORS TO ASSUME
         AND ASSIGN CERTAIN LEASES AND EXECUTORY CONTRACTS
       TO TALOS THIRD COAST LLC AND (II) GRANTING RELATED RELIEF

                                      (Related Docket No. 340)


          The undersigned hereby certifies as follows:

          1.     On June 30, 2021, the Debtor’s Motion in Aid of Consummation for entry of an

Order (I) Authorizing the Debtors to Assume and Assign Certain Leases and Executory Contracts

to Talos Third Coast LLC and (II) Granting Related Relief [Doc. No. 340] (the “Motion”) was

filed with the Court.

          2.     Responses, if any, to the Objection were required to have been filed with the Court

and served no later than July 21, 2021 (the “Response Deadline”).

          3.     In accordance with paragraph 41 of the Procedures for Complex Cases in the

Southern District of Texas, the undersigned hereby certifies that more than twenty-four (24) hours

have passed since the Response Deadline and no responsive pleadings to the Objection have

appeared on the Court’s docket in the above-captioned chapter 11 cases or were served upon the
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undersigned counsel. Accordingly, the undersigned respectfully requests that the form of Order

granting the Motion attached hereto be entered at the earliest convenience of the Court.

       4.      Pursuant to paragraph 43 of the Procedures for Complex Cases in the Southern

District of Texas, the undersigned has attached both (a) a redline of the revised form of Order

against the Order filed with the Motion; and (b) a clean copy of the form of Order.



Dated: July 26, 2021                                Respectfully Submitted,

                                                    STEWART ROBBINS BROWN &
                                                    ALTAZAN, LLC


                                                    /s/ Paul Douglas Stewart, Jr.
                                                    Paul Douglas Stewart, Jr.
                                                    (La. Bar # 24661, admitted to SDTX)
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                                                    Attorneys for Castex Liquidating Trust
                                                    and Post-Effective Date Debtors


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the above and foregoing pleading
was caused to be served upon all parties that are registered to receive electronic service through
the court’s ECF notice system in the above case on this 26th day of July, 2021.


                                                    /s/ Paul Douglas Stewart, Jr.
                                                    Paul Douglas Stewart, Jr.
